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  EXHIBIT A
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ti       Mac           1Pad          1Phone          Watch            TV               Music                Support                  Q              [J

Legal                                          Hardware   Software   Sales & Support    Internet Services    Intellectual Property       More Resources




     Apple Media Services Terms and Conditions

        These terms and conditions create a contract between you and Apple (the "Agreement"). Please read the
        Agreement carefully. To confirm your understanding and acceptance of the Agreement, click "Agree."

        A. INTRODUCTION TO OUR SERVICES

        This Agreement governs your use of Apple's services ("Services"), through which you can buy, get,
        license, rent or subscribe to content, Apps (as defined below), and other in-app services (collectively,
        "Content"). Content may be offered through the Services by Apple or a third party. Our Services are
        available for your use in your country or territory of residence ("Home Country"). By creating an account
        for use of the Services in a particular country or territory you are specifying it as your Home Country. To
        use our Services, you need compatible hardware, software (latest version recommended and sometimes
        required) and Internet access (fees may apply). Our Services' performance may be affected by these
        factors.

        B. USING OUR SERVICES

        PAYMENTS, TAXES, AND REFUNDS

        You can acquire Content on our Services for free or for a charge, either of which is referred to as a
        "Transaction." Each Transaction is an electronic contract between you and Apple, and/or you and the
        entity providing the Content on our Services. However, if you are a customer of Apple Distribution
        International Ltd., Apple Distribution International Ltd. is the merchant of record for the Content you
        acquire from certain Services (e.g., Apple Books, App Store, etc.) as displayed on the product page and/or
        during the acquisition process for the relevant Service. In such case, you acquire the Content from Apple
        Distribution International Ltd., which is licensed by the Content provider (e.g., App Provider (as defined
        below), book publisher, etc.). When you make your first Transaction, we will ask you to choose how
        frequently we should ask for your password for future Transactions. If you enable Touch ID for
        Transactions, we will ask you to authenticate all Transactions with your fingerprint, and if you enable Face
        ID for Transactions, we will ask you to authenticate all Transactions using facial recognition. Manage your
        password settings at any time by following these instructions: https://support.apple.com/ HT204030.
        Apple will charge your selected payment method (such as your credit card, debit card, gift card/code, or
        other method available in your Home Country) for any paid Transactions, including any applicable taxes. If
        you have also added it to your Apple Wallet, Apple may charge your selected payment method in Apple
        Wallet using Apple Pay. If we cannot charge your selected payment method for any reason (such as
        expiration or insufficient funds), you remain responsible for any uncollected amounts, and we will attempt
        to charge the payment method again as you may update your payment method information. If you pre-
        order Content, you will be charged when the Content is delivered to you (unless you cancel prior to the
        Content's availability). In accordance with local law, Apple may update information regarding your selected
        payment method if provided such information by your financial institution. For details about how
        Transactions are billed, please visit http://support.apple.com/HT5582. All Transactions are final. Content
        prices may change at any time. If technical problems prevent or unreasonably delay delivery of Content ,
        your exclusive and sole remedy is either replacement of the Content or refund of the price paid, as
        determined by Apple. From time to time, Apple may refuse a refund request if we find evidence of fraud,
        refund abuse, or other manipulative behavior that entitles Apple to a corresponding counterclaim. Terms
        related to Store Credit and gift cards/codes are available here: https://www.apple.com/ legal/internet-
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services/itunes/giftcards/.

ACCOUNT

Using our Services and accessing your Content may require an Apple ID. An Apple ID is the account you
use across Apple's ecosystem. Use of Game Center is subject to this Agreement and also requires a Game
Center account. Your account is valuable, and you are responsible for maintaining its confidentiality and
security. Apple is not responsible for any losses arising from the unauthorized use of your account. Please
contact Apple if you suspect that your account has been compromised.

You must be age 13 (or equivalent minimum age in your Home Country, as set forth in the registration
process) to create an account and use our Services. Apple IDs for persons under this age can be created
by a parent or legal guardian using Family Sharing or by an approved educational institution.

PRIVACY

Your use of our Services is subject to Apple's Privacy Policy, which is available at https://www.apple.com
/legal/ privacy/.

SERVICES AND CONTENT USAGE RULES

Your use of the Services and Content must follow the rules set forth in this section ("Usage Ru les"). Any
other use of the Services and Content is a material breach of this Agreement. Apple may monitor your use
of the Services and Content to ensure that you are following these Usage Rules.

All Services:

- You may use the Services and Content only for personal, noncommercial purposes (except as set forth in
the App Store Content section below).

- Apple's delivery of Services or Content does not t ransfer any commercial or promotional use rights to
you, and does not constitute a grant or waiver of any rights of the copyright owners.

- You can use Content from up to five different Apple IDs on each device.

- For any Service, you can have up to 10 devices (but only a maximum of 5 computers) signed in with you r
Apple ID at one time, though simultaneous streams or downloads of Content may be limited to a lower
number of devices as set out below under Apple Music and Apple TV content. Each computer must also
be authorized using t he same Apple ID (to learn more about authorization of computers, visit
https://support.apple.com/HT201251). Devices can be associated with a different Apple ID once every 90
days.

- Manipulating play counts, downloads, ratings, or reviews via any means - such as (i) using a bot, script,
or automated process; or (ii) providing or accepting any kind of compensation or incentive - is prohibited.

- It is your responsibility not to lose, destroy, or damage Content once downloaded. We encourage you to
back up your Content regularly.

- You may not tamper with or circumvent any security technology included with the Services.

- You may access our Services only using Apple's software, and may not modify or use modified versions
of such software.

- Video Content requires an HDCP connection.

Audio and Video Content Sales and Rentals:

- You can use Digital Rights Management (DRM)-free Content on a reasonable number of compatible
devices that you own or control. ORM-protected Content can be used on up to five computers and any
number of devices that you sync to from those computers.
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- Content rentals are viewable on a single device at a time, and must be played within 30 days, and
completed within 48 hours of the start of play (stopping, pausing or restarting does not extend this
period).

- You may burn an audio playlist of purchased music to disc for listening purposes up to seven times; this
limitation does not apply to DRM-free Content. Other Content may not be burned to disc.

App Store Content:

- The term "Apps" includes apps and app clips for any Apple platform and/or operating system, including
ariy in-app purchases, extensions (such as keyboards), stickers, and subscriptions made available in such
apps or app clips.

- Individuals acting on behalf of a commercial enterprise, governmental organization or educational
institution (an "Enterprise") may download and sync non-Arcade Apps for use by either (i) a single
individual on one or more devices owned or controlled by an Enterprise; or (ii) multiple individuals on a
single shared device owned or controlled by an Enterprise. For the sake of clarity, each device used
serially or collectively by multiple users requires a separate license.

Apple Music:

- An Individual Apple Music membership allows you to stream on a single device at a time; a Family
membership allows you or your Family members to stream on up to six devices at a time.

Apple Arcade:

- Apple Arcade Apps may only be downloaded, or redownloaded, with a valid App le Arcade trial or
subscription.

- If your subscription ends, Apps downloaded via Apple Arcade will no longer be accessible to you.

Apple TV Content:

- For most channels, you can stream Content on up to three devices simultaneously.

- Learn more about Apple TV Content Usage Rules at https://support.apple.com/HT210074.

DOWNLOADS

You may be limited in the amount of Content you may download, and some downloaded Content may
expire after a given amount of time after downloaded or first played. Certain Content may not be available
for download at all.

You may be able to redownload previously acquired Content ("Redownload") to your devices that are
signed in with the same Apple ID ("Associated Devices"). You can see Content types available for
Redownload in your Home Country at https://support.apple.com/HT204632. Content may not be available
for Redownload if that Content is no longer offered on our Services.

SUBSCRIPTIONS

The Services and certain Apps may allow you to purchase access to Content or Services on a subscription
basis ("Paid Subscriptions"). Paid Subscriptions automatically renew until cancelled in the Manage
Subscriptions section of your account settings. To learn more about cancelling your subscriptions, visit
https://support.apple.com/HT202039. We will notify you if the price of a Paid Subscription increases and,
if required, seek your consent to continue. You will be charged no more than 24 hours prior to the start of
the latest Paid Subscription period. If we cannot charge your payment method for any reason (such as
expiration or insufficient funds), and you have not cancelled the Paid Subscription, you remain responsible
for any uncollected amounts, and we will attempt to charge the payment method as you may update your
payment method information. This may result in a change to the start of your next Paid Subscription period
and may change the date on which you are billed for each period. We reserve the right to cancel your Paid
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Subscription if we are unable to successfully charge your payment method to renew your subscription.
Certain Paid Subscriptions may offer a free trial prior to charging your payment method. If you decide to
unsubscribe from a Paid Subscription before we start charging your payment method, cancel the
subscription at least 24 hours before the free trial ends.

If you start a free trial to a Paid Subscription offered by Apple as Content provider (an "Apple Paid
Subscription") and cancel before it ends, you cannot reactivate the free trial.

Free trials or free offers to Apple Paid Subscriptions, excluding iCloud, cannot be combined with any free
trials or offers of Apple One. If you are in a free trial or free offer for any Apple Paid Subscriptions, and you
subscribe to Apple One, your free trial(s) or offer(s) will not be paused even if you have access to such
Apple Paid Subscription(s) through your Apple One subscription. You acknowledge that your free trial or
free offer may expire while you are a Paid Subscriber to Apple One, and Apple shall have no obligation to
reinstate, reimburse, or otherwise compensate you for any part of such expired free trial or free offer.

When your Paid Subscription to any Service ends, you will lose access to any functionality or Content of
that Service that requires a Paid Subscription.

CONTENT AND SERVICE AVAILABILITY

Terms found in this Agreement that relate to Services, Content types, features or functionality not available
in your Home Country are not applicable to you unless and until they become available to you. To see the
Content types available to you in your Home Country, go to the Services or visit https://support.apple.com
/HT204411. Certain Services and Content available to you in your Home Country may not be available to
you when traveling outside of your Home Country.

THIRD-PARTY DEVICES AND EQUIPMENT

If you use our Services on a non-Apple- branded device, you may not be able to access all features or
Content types. Terms in this Agreement relating to unavailable features or Content types are not applicable
to you. If you later choose to access our Services from an Apple-branded device, you agree that all terms
of this Agreement will apply to your use on such device. Additionally, certain Services may require, direct,
or suggest you use third-party equipment in some circumstances and/or for certain activities; such use is
subject to the terms and conditions of such equipment and should be made in accordance with the
applicable manufacturer's instructions.

C. YOUR SUBMISSIONS TO OUR SERVICES

Our Services may allow you to submit or post materials such as comments, ratings and reviews, pictures,
videos, and podcasts (including associated metadata and artwork). Your use of such features must comply
with the Submissions Guidelines below, which may be updated from time to time. If you see materials t hat
do not comply with the Submissions Guidelines, please use the Report a Concern feature. You hereby
grant Apple a worldwide, royalty-free, perpetual, nonexclusive license to use the materials you submit
within the Services and related marketing, and Apple internal purposes. Apple may monitor and decide to
remove or edit any submitted material.

Submissions Guidelines: You may not use the Services to:

- post any materials that (i) you do not have permission, right or license to use, or (ii) infringe on the rights
of any third party;

- post objectionable, offensive, unlawful, deceptive, inaccurate, or harmful content;

- post personal, private or confidential information belonging to others;

- request personal information from a minor;

- impersonate,or misrepresent your affiliation with another person, or entity;

- post or transmit spam, including but not limited to unsolicited or unauthorized advertising, promotional
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materials, or informational announcements;

- post, modify, or remove a rating or review in exchange for any kind of compensation or incentive;

- post a fake rating or review;

- plan or engage in any illegal, fraudulent, or manipulative activity.

D. FAMILY SHARING

The organizer of a Family ("Organizer") must be 18 years or older and the parent or legal guardian of any
Family member under age 13 or the equivalent minimum age in their Home Country (as set forth in the
registration process). Apple devices are required for access to all of the Family Sharing features.

Purchase Sharing: Family Sharing's Purchase Sharing feature allows you to share eligible Content among
up to six members of a Family. The Organizer invites other members to participate, and agrees to pay for
all Transactions initiated by Family members. The Organizer's payment method is used to pay for any
Transaction initiated by a Family member (except when the Family member's account has store credit,
which is always used first). Family members are acting as agents for the Organizer when the Organizer's
payment method is used. The Organizer hereby agrees (1) to pay for such Transactions, and (2) that
Transactions initiated by Family members are authorized. Organizers are responsible for complying with
their payment method contract, and assume all risk related to sharing access to the payment method with
Family members. A receipt or invoice for any Family member Transaction is sent to the initiating Family
member and the Organizer.

Ask to Buy: Ask to Buy is a convenient feature that allows an Organizer to approve Transactions initiated by
a Family member under age 18 (or the equivalent age of majority in your Home Country). The Organizer
must be the parent or legal guardian of any Family member for whom Ask to Buy is activated. Content
shared by Family members or acquired via content codes may not be subject to Ask to Buy.

Family Member changes: When a Family member leaves or is removed from the Family, the remaining
Family members may no longer be able to access the former member's Content, including Content
acquired with the Organizer's payment method.

Family Sharing Rules: You can only belong to one Family at a time, and may join any Family no more than
twice per year. You can change the Apple ID you associate with a Family no more than once every 90 days.
All Family members must share the same Home Country. Not all Content, including In-App Purchases,
subscriptions, and some previously acquired Apps, are eligible for Purchase Sharing. Apple TV+, Apple TV
Channels, Apple One Family, Apple One Premier, Apple Music Family, Apple Arcade, and Apple News+
subscriptions are automatically enabled for Family Sharing. Subscriptions shared by a Family may be
subject to Content usage limitations on a per subscription basis.

E. PERSONALIZED RECOMMENDATION FEATURES

The Services may recommend Content to you based on your downloads, purchases and other activities.
You may opt out from receiving such personalized recommendations for some Services in your account
settings.

Some recommendation features may require your permission before they are turned on. If you turn on
these features, you will be asked to give Apple permission to collect and store certain data, including but
not limited to data about your device activity, location, and usage. Please carefully read the information
presented when you turn on these features.

F. ADDITIONAL !TUNES STORE TERMS

SEASON PASS AND MULTI-PASS

A Pass allows you to purchase and receive television Content as it becomes available. A Season Pass
applies to television Content that has a limited number of episodes per season; a Multi-Pass applies to
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television Content that is available on an ongoing basis. The full price of a Season Pass or Multi- Pass is
charged at the time of the Transaction. Season Pass or Multi-Pass Content is available for download up to
90 days after the last episode becomes available. If automatic renewal is selected when you obtain a
Multi-Pass, you will be charged the full price of each subsequent Multi-Pass cycle. You can turn off
automatic renewal at least 24 hours prior to the beginning of the next Multi-Pass cycle in your account
settings. If a Content provider delivers to Apple fewer TV episodes than planned when you purchased a
Season Pass, we will credit to your Apple ID the retail value of the corresponding number of episodes that
were not provided to Apple.

G. ADDITIONAL APP STORE TERMS (EXCLUDING APPLE ARCADE APPS)

LICENSE OF APP STORE CONTENT

App licenses are provided to you by Apple or a third party developer ("App Provider"). If you are a
customer of Apple Distribution International Ltd., the merchant of record is Apple Distribution Internat ional
Ltd., which means that you acquire the App license from Apple Distribution International Ltd., but the App
is licensed by the App Provider. An App licensed by Apple is an "Apple App;" an App licensed by an App
Provider is a "Third Party App." Apple acts as an agent for App Providers in providing the App Store and is
not a party to the sales contract or user agreement between you and the App Provider. Any App that you
acquire is governed by the Licensed Application End User License Agreement ("Standard EULA") set forth
below, unless Apple or the App Provider provides an overriding custom license agreement ("Custom
EULA"). The App Provider of any Third Party App is solely responsible for its content, warranties, and
claims that you may have related to the Third Party App. You acknowledge and agree that Apple is a third-
party beneficiary of the Standard EULA or Custom EULA applicable to each Third Party App and may
therefore enforce such agreement. Certain Apps, such as stickers and iMessage apps, may not appear on
the device springboard but can be accessed and used in the Messages app .drawer.

IN-APP PURCHASES

Apps may offer content, services or functionality for use within such Apps ("In-App Purchases"). In-App
Purchases that are consumed during the use of the App (for example, virtual gems) cannot be t ransferred
among devices and can be downloaded only once. You must authenticate your account before making In-
App Purchases - separate from any authentication to obtain other Content - by entering your password or
using Touch ID or Face ID. You will be able to make additional In-App Purchases for fifteen minutes without
re-authenticating unless you've asked us to require a password for every purchase or have enabled Touch
ID or Face ID. You can turn off the ability to make In-App Purchases by following these instructions:
https://support.apple.com/HT201304.

APP MAINTENANCE AND SUPPORT

Apple is responsible for providing maintenance and support for Apple Apps only, or as required under
applicable law. App Providers are responsible for providing maintenance and support for Third Party Apps.

APP BUNDLES

Some Apps may be sold together as a bundle ("App Bundle"). The price displayed with an App Bundle is
the price you will be charged upon purchasing the App Bundle. The App Bundle price may be reduced to
account for Apps you have already purchased or acquired, but may include a minimum charge to complete
the App Bundle.

LICENSED APPLICATION END USER LICENSE AGREEMENT

Apps made available through the App Store are licensed, not sold, to you. Your license to each App is
subject to your prior acceptance of either this Licensed Application End User License Agreement
("Standard EULA"), or a custom end user license agreement between you and the Application Provider
("Custom EULA"), if one is provided. Your license to any Apple App under this Standard EULA or Custom
EULA is granted by Apple, and your license to any Third Party App under this Standard EULA or Custom
EULA is granted by the Application Provider of that Third Party App. Any App that is subject to this
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Standard EULA is referred to herein as the "Licensed Application." The Application Provider or Apple as
applicable ("Licensor") reserves all rights in and to the Licensed Application not expressly granted to you
under this Standard EULA.

a. Scope of License: Licensor grants to you a nontransferable license to use the Licensed Application on
any Apple-branded products that you own or control and as permitted by the Usage Rules. The terms of
this Standard EULA will govern any content, materials, or services accessible from or purchased within the
Licensed Application as well as upgrades provided by Licensor that replace or supplement the original
Licensed Application, unless such upgrade is accompanied by a Custom EULA. Except as provided in the
Usage Rules, you may not distribute or make the Licensed Application available over a network where, it
could be used by multiple devices at the same time. You may not transfer, redistribute or sublicense the
Licensed Application and, if you sell your Apple Device to a third party, you must remove the Licensed
Application from the Apple Device before doing so. You may not copy (except as permitted by this license
and the Usage Rules), reverse-engineer, disassemble, attempt to derive the source code of, modify, or
create derivative works of the Licensed Application, any updates, or any part thereof (except as and only
to the extent that any foregoing restriction is prohibited by applicable law or to the extent as may be
permitted by the licensing terms governing use of any open-sourced components included with the
Licensed Application).

b. Consent to Use of Data: You agree that Licensor may collect and use technical data and related
information-including but not limited to technical information about your device, system and application
software, and peripherals-that is gathered periodically to facilitate the provision of software updates,
product support, and other services to you (if any) related to the Licensed Application. Licensor may use
this information, as long as it is in a form that does not personally identify you, to improve its products or
to provide services or technologies to you.

c. Termination. This Standard EULA is effective until terminated by you or Licensor. Your rights under this
Standard EULA will terminate automatically if you fail to comply with any of its terms,

d. External Services. The Licensed Application may enable access to Licensor's and/or third-party
services and websites (collectively and individually, "External Services"). You agree to use the External
Services at your sole risk. Licensor is not responsible for examining or evaluating the content or accuracy
of any third-party External Services, and shall not be liable for any such third-party External Services. Data
displayed by any Licensed Application or External Service, including but not limited to financial, medical
and location information, is for general informational purposes only and is not guaranteed by Licensor or
its agents. You will not use the External Services in any manner that is inconsistent with the terms of this
Standard EULA or that infringes the intellectual property rights of Licensor or any third party. You agree
not to use the External Services to harass, abuse, stalk, threaten or defame any person or entity, and that
Licensor is not responsible for any such use. External Services may not be available in all languages or in
your Home Country, and may not be appropriate or available for use in any particular location. To the
extent you choose to use such External Services, you are solely responsible for compliance with any
applicable laws. Licensor reserves the right to change, suspend, remove, disable or impose access
restrictions or limits on any External Services at any time without notice or liability to you.

e. NO WARRANTY: YOU EXPRESSLY ACKNOWLEDGE AND AGREE THAT USE OF THE LICENSED
APPLICATION IS AT YOUR SOLE RISK. TO THE MAXIMUM EXTENT PERMITTED BY APPLICI\BLE LAW, THE
LICENSED APPLICATION AND ANY SERVICES PERFORMED OR PROVIDED BY THE LICENSED
APPLICATION ARE PROVIDED "AS IS" AND "AS AVAILABLE," WITH ALL FAULTS AND WITHOUT
WARRANTY OF ANY KIND, AND LICENSOR HEREBY DISCLAIMS ALL WARRANTIES AND CONDITIONS
WITH RESPECT TO THE LICENSED APPLICATION AND ANY SERVICES, EITHER EXPRESS, IMPLIED, OR
STATUTORY, INCLUDING, BUT NOT LIMITED TO, THE IMPLIED WARRANTIES AND/OR CONDITIONS OF
MERCHANTABILITY, OF SATISFACTORY QUALITY, OF FITNESS FOR A PARTICULAR PURPOSE, OF
ACCURACY, OF QUIET ENJOYMENT, AND OF NONINFRINGEMENT OF THIRD-PARTY RIGHTS. NO ORAL
OR WRITTEN INFORMATION OR ADVICE GIVEN BY LICENSOR OR ITS AUTHORIZED REPRESENTATIVE
SHALL CREATE A WARRANTY. SHOULD THE LICENSED APPLICATION OR SERVICES PROVE DEFECTIVE,
YOU ASSUME THE ENTIRE COST OF ALL NECESSARY SERVICING, REPAIR, OR CORRECTION. SOME
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JURISDICTIONS DO NOT ALLOW THE EXCLUSION OF IMPLIED WARRANTIES OR LIMITATIONS ON
APPLICABLE STATUTORY RIGHTS OF A CONSUMER, SO THE ABOVE EXCLUSION AND LIMITATIONS MAY
NOT APPLY TO YOU.

f. Limitation of Liability. TO THE EXTENT NOT PROHIBITED BY LAW, IN NO EVENT SHALL LICENSOR BE
LIABLE FOR PERSONAL INJURY OR ANY INCIDENTAL, SPECIAL, INDIRECT, OR CONSEQUENTIAL
DAMAGES WHATSOEVER, INCLUDING, WITHOUT LIMITATION, DAMAGES FOR LOSS OF PROFITS, LOSS
OF DATA, BUSINESS INTERRUPTION, OR ANY OTHER COMMERCIAL DAMAGES OR LOSSES, ARISING
OUT OF OR RELATED TO YOUR USE OF OR INABILITY TO USE THE LICENSED APPLICATION, HOWEVER
CAUSED, REGARDLESS OF THE THEORY OF LIABILITY (CONTRACT, TORT, OR OTHERWISE) AND EVEN IF
LICENSOR HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. SOME JURISDICTIONS DO
NOT ALLOW THE LIMITATION OF LIABILITY FOR PERSONAL INJURY, OR OF INCIDENTAL OR
CONSEQUENTIAL DAMAGES, SO THIS LIMITATION MAY NOT APPLY TO YOU. In no event shall Licensor's
total liability to you for all damages (other than as may be required by applicable law in cases involving
personal injury) exceed the amount of fifty dollars ($50.00). The foregoing limitations will apply even if the
above stated remedy fails of its essential purpose.

g. You may not use or otherwise export or re-export the Licensed Application except as authorized by
United States law and the laws of the jurisdiction in which the Licensed Application was obtained. In
particular, but without limitation, the Licensed Application may not be exported or re-exported (a) into any
U.S.-embargoed countries or (b) to anyone on the U.S. Treasury Department's Specially Designated
Nationals List or the U.S. Department of Commerce Denied Persons List or Entity List. By using the
Licensed Application, you represent and warrant that you are not located in any such country or on any
such list. You also agree that you will not use these products for any purposes prohibited by United States
law, including, without limitation, the development, design, manufacture, or production of nuclear, missile,
or chemical or biological weapons.

h. The Licensed Application and related documentation are "Commercial Items", as that term is defined at
48 C.F.R. §2.101, consisting of "Commercial Computer Software" and "Commercial Computer Software
Documentation", as such terms are used in 48 C.F.R. §12.212 or 48 C.F.R. §227.7202, as applicable.
Consistent with 48 C.F.R. §12.212 or 48 C.F.R. §227.7202-1 through 227.7202-4, as applicable, the
Commercial Computer Software and Commercial Computer Software Documentation are being licensed to
U.S. Government end users (a) only as Commercial Items and (b) with only those rights as are granted to
all other end users pursuant to the terms and conditions herein. Unpublished-rights reserved under the
copyright laws of the United States.

i. Except to the extent expressly provided in the following paragraph, this Agreement and the relationship
between you and Apple shall be governed by the laws of the State of California, excluding its conflicts of
law provisions. You and Apple agree to submit to the personal and exclusive jurisdiction of the courts
located within the county of Santa Clara, California, to resolve any dispute or claim arising from this
Agreement. If (a) you are not a U.S. citizen; (b) you do not reside in the U.S.; (c) you are not accessing the
Service from the U.S.; and (d) you are a citizen of one of the countries identified below, you hereby agree
that any dispute or claim arising from this Agreement shall be governed by the applicable law set forth
below, without regard to any conflict of law provisions, and you hereby irrevocably submit to the non-
exclusive jurisdiction of the courts located in the state, province or country identified below whose law
governs:

If you are a citizen of any European Union country or Switzerland, Norway or Iceland, the governing law
and forum shall be the laws and courts of your usual place of residence.

Specifically excluded from application to this Agreement is that law known as the United Nations
Convention on the International Sale of Goods.

H. ADDITIONAL TERMS FOR CERTAIN CONTENT ACQUIRED FROM THIRD PARTIES

Some Content available in certain Services are acquired by You from the third-party provider of such
Content (as displayed on the product page and/or during the acquisition process for the relevant Content),
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not Apple. For example, Apple Books Content is acquired from book publishers, not Apple. In such case,
Apple acts as an agent for the Content provider in providing the Content to you, and therefore Apple is not
a party to the Transaction between you and the Content provider. However, if you are a customer of Apple
Distribution International Ltd., Apple Distribution International Ltd. is the merchant of record for the
Content you acquire from certain Services (e.g., Apple Books), but such Content is licensed by the
Content provider. The Content provider reserves the right to enforce the terms of use relating to such
Content. The Content provider is solely responsible for such Content, any warranties to the extent that
such warranties have not been disclaimed, and any claims that you or any other party may have relating to
such Content.

I. ADDITIONAL APPLE MUSIC TERMS

iCloud Music Library is an Apple Music feature that allows you to access your matched or uploaded songs,
playlists and music videos acquired from Apple Music, the iTunes Store or another source ("iCloud Music
Library Content") on your Apple Music-enabled devices. iCloud Music Library is turned on automatically
when you set up your Apple Music membership. iCloud Music Library collects information about your
iCloud Music Library Content. This information is associated with your Apple ID, and compared to iCloud
Music Library Content currently available on Apple Music. iCloud Music Library Content that is not
matched is uploaded to Apple's iCloud Music Library servers (in a format determined by Apple). You can
upload up to 100,000 songs. Songs acquired from the iTunes Store or Apple Music do not count against
this limit. Songs that do not meet certain criteria (for example, excessively large files) or that are not
authorized for your device are not eligible for iCloud Music Library. When you use iCloud Music Library,
Apple logs information such as the tracks you play, stop or skip, the devices you use, and the time and
duration of playback. You agree to use iCloud Music Library only for lawfully acquired content. iCloud
Music Library is provided on an "AS IS" basis and could contain errors or inaccuracies. You should back up
your data and information prior to using iCloud Music Library. If you are not an Apple Music member, you
may purchase an iTunes Match subscription, which is subject to the terms set forth in this section. When
your Apple Music membership ends, you will lose access to to your iCloud Music Library, including iCloud
Music Library Content that is uploaded to iCloud Music Library servers.

J. ADDITIONAL APPLE FITNESS+ TERMS

Apple Fitness+ is for entertainment and/or informational purposes only and is not intended to provide any
medical advice. You should always seek the advice of an appropriately qualified healthcare professional
regarding (a) the safety and advisability of any given activity, or (bl any specific medical condition or
symptoms.

K. CARRIER MEMBERSHIP

Where available, you may be offered to purchase a Service membership from your wireless carrier (a
"Carrier Membership"). If you purchase a Carrier Membership, your carrier is the merchant of record,
which means that you acquire the Service license from your carrier, which will bill you for the cost of your
Service membership, but the Service is provided by Apple. Your purchase relationship with the carrier is
governed by the carrier's terms and conditions, not this Agreement, and any billing disputes related to a
Carrier Membership must be directed to your carrier, not Apple. By using a Service through a Carrier
Membership, you agree that your carrier may exchange your carrier account information, telephone
number and subscription information with Apple, and that Apple may use this information to determine the
status of your Carrier Membership.

L. MISCELLANEOUS TERMS APPLICABLE TO ALL SERVICES

DEFINITION OF APPLE

Depending on your Home Country, "Apple" means:

Apple Inc., located at One Apple Park Way, Cupertino, California, for users in the United States, including
Puerto Rico;
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Apple Canada Inc., located at 120 Bremner.Blvd., Suite 1600, Toronto ON M5J OAS, Canada for users in
Canada;

Apple Services LATAM LLC, located at 1 Alhambra Plaza, Ste 700 Coral Gables, Florida, for users in
Mexico, Central or South America, or any Caribbean country or territory (excluding Puerto Rico};

iTunes K.K., located at Roppongi Hills, 6-10-1 Roppongi, Minato-ku, Tokyo 106-6140, Tokyo for users in
Japan;

Apple Pty Limited, located at Level 3, 20 Martin Place, Sydney NSW 2000, Australia, for users in Australia
or New Zealand, including in any of their territories or affiliated jurisdictions; and

Apple Distribution International Ltd., located at Hollyhill Industrial Estate, Hollyhill, Cork, Republic of
Ireland, for all other users.

CONTRACT CHANGES

Apple reserves the right at any time to modify this Agreement and to add new or additional terms or
conditions on your use of the Services. Such modifications and additional terms and conditions will be
effective immediately and incorporated into this Agreement. Your continued use of the Services will be
deemed acceptance thereof.

THIRD-PARTY MATERIALS

Apple is not responsible or liable for third party materials included within or linked from the Content or t he
Services.

INTELLECTUAL PROPERTY

You agree that the Services, including but not limited to Content, graphics, user interface, audio clips,
video clips, editorial content, and the scripts and software used to implement the Services, contain
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to modify, rent, loan, sell, or distribute the Services or Content in any manner, and you shall not exploit the
Services in any manner not expressly authorized.

The Apple name, the Apple logo, iTunes, iTunes Store, App Store, Apple Books, Apple Music, Apple TV,
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- Apple News: https://www.apple.com/ legal/internet- services/itunes/applenewsnotices/

- All other Services (including but not limited to iTunes Store, Apple Music, and Apple Podcasts}:
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TERMINATION AND SUSPENSION OF SERVICES

If you fail, or Apple suspects that you have failed, to comply with any of the provisions of this Agreement,
Apple may, without notice to you: (i) terminate this Agreement and/or your Apple ID, and you will remain
liable for all amounts due under your Apple ID up to and including the date of termination; and/or (ii)
terminate your license to the software; and/or (iii) preclude your access to the Services.

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should it exercise such rights.

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APPLE DOES NOT GUARANTEE, REPRESENT, OR WARRANT THAT YOUR USE OF THE SERVICES WILL BE
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OTHERWISE LIMIT OR DISABLE YOUR ACCESS TO THE SERVICES WITHOUT NOTICE TO YOU.

YOU EXPRESSLY AGREE THAT YOUR USE OF, OR INABILITY TO USE, OR ACTIVITY IN CONNECTION
WITH THE SERVICES IS AT YOUR SOLE RISK. THE SERVICES AND ALL CONTENT DELIVERED TO YOU
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SUCH COUNTRIES, STATES OR JURISDICTIONS, APPLE'S LIABILITY SHALL BE LIMITED TO THE EXTENT
SUCH LIMITAT ION IS PERMITTED BY LAW.

APPLE SHALL USE REASONABLE EFFORTS TO PROTECT INFORMATION SUBMITTED BY YOU IN
CONNECTION WITH THE SERVICES, BUT YOU AGREE THAT YOUR SUBMISSION OF SUCH INFORMATION
IS AT YOUR SOLE RISK, AND YOU HEREBY RELEASE APPLE FROM ANY AND ALL LIABILITY TO YOU FOR
ANY LOSS OR LIABILITY RELATING TO SUCH INFORMATION IN ANY WAY.

APPLE DOES NOT REPRESENT OR GUARANTEE THAT THE SERVICES WILL BE FREE FROM LOSS,
CORRUPTION, ATTACK, VIRUSES, INTERFERENCE, HACKING, OR OTHER SECURITY INTRUSION, AND
YOU HEREBY RELEASE APPLE FROM ANY LIABILITY RELATING THERETO. YOU SHALL BE RESPONSIBLE
FOR BACKING UP YOUR OWN SYSTEM, INCLUDING ANY CONTENT ACQUIRED OR RENTED THROUGH
THE SERVICES.

APPLE IS NOT RESPONSIBLE FOR DATA CHARGES YOU MAY INCUR IN CONNECTION WITH YOUR USE
OF THE SERVICES.

WAIVER AND INDEMNITY

BY USING THE SERVICES, YOU AGREE, TO THE EXTENT PERMITTED BY LAW, TO INDEMNIFY AND HOLD
APPLE, ITS DIRECTORS, OFFICERS, EMPLOYEES, AFFILIATES, AGENTS, CONTRACTORS, AND
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LICENSORS HARMLESS WITH RESPECT TO ANY CLAIMS ARISING OUT OF YOUR BREACH OF THIS
AGREEMENT, YOUR USE OF THE SERVICES, OR ANY ACTION TAKEN BY APPLE AS PART OF ITS
INVESTIGATION OF A SUSPECTED VIOLATION OF THIS AGREEMENT OR AS A RESULT OF ITS FINDING
OR DECISION THAT A VIOLATION OF THIS AGREEMENT HAS OCCURRED. YOU AGREE THAT YOU SHALL
NOT SUE OR RECOVER ANY DAMAGES FROM APPLE, ITS DIRECTORS, OFFICERS, EMPLOYEES,
AFFILIATES, AGENTS, CONTRACTORS, AND LICENSORS AS A RESULT OF ITS DECISION TO REMOVE OR
REFUSE TO PROCESS ANY INFORMATION OR CONTENT, TO WARN YOU, TO SUSPEND OR TERMINATE
YOUR ACCESS TO THE SERVICES, OR TO TAKE ANY OTHER ACTION DURING THE INVESTIGATION OF A
SUSPECTED VIOLATION OR AS A RESULT OF APPLE'S CONCLUSION THAT A VIOLATION OF THIS
AGREEMENT HAS OCCURRED. THIS WAIVER AND INDEMNITY PROVISION APPLIES TO ALL VIOLATIONS
DESCRIBED IN OR CONTEMPLATED BY THIS AGREEMENT.

STATUTORY EXCEPTIONS FOR PUBLIC INSTITUTIONS

If you are a qualified public educational or government institution and any part of this Agreement, such as,
by way of example, all or part of the indemnification section, is invalid or unenforceable against you
because of applicable local, national, state or federal law, then that portion shall be deemed invalid or
unenforceable, as the case may be, and instead construed in a manner most consistent with applicable
governing law.

GOVERNING LAW

Except to the extent expressly provided in the following paragraph, this Agreement and the relationship
between you and Apple, and all Transactions on the Services shall be governed by the laws of the State of
California, excluding its conflicts of law provisions. You and Apple agree to submit to the personal and
exclusive jurisdiction of the courts located within the county of Santa Clara, California, to resolve any
dispute or claim arising from this Agreement. If (a) you are not a U.S. citizen; (b) you do not reside in the
U.S.; (c) you are not accessing the Service from the U.S.; and (d) you are a citizen of one of the countries
identified below, you hereby agree that any dispute or claim arising from this Agreement shall be governed
by the applicable law set forth below, without regard to any conflict of law provisions, and you hereby
irrevocably submit to the non-exclusive jurisdiction of the courts located in the state, province or country
identified below whose law governs:

If you are a citizen of any European Union country or Switzerland, Norway or Iceland, the governing law
and forum shall be the laws and courts of your usual place of residence.

Specifically excluded from application to this Agreement is that law known as the United Nations
Convention on the International Sale of Goods.

OTHER PROVISIONS

This Agreement constitutes the entire agreement between you and Apple and governs your use of the
Services, superseding any prior agreements with respect to the same subject matter between you and
Apple. You also may be subject to additional terms and conditions that may apply when you use affiliate
services, third-party content, third-party software, or additional services such as the Volume Purchase
Program. If any part of this Agreement is held invalid or unenforceable, that portion shall be construed in a
manner consistent with applicable law to reflect, as nearly as possible, the original intentions of the
parties, and the remaining portions shall remain in full force and effect. Apple's failure to enforce any right
or provisions in this Agreement will not constitute a waiver of such or any other provision. Apple will not be
responsible for failures to fulfill any obligations due to causes beyond its control.

You agree to comply with all local, state, federal, and national laws, statutes, ordinances, and regulations
that apply to your use of the Services. Your use of the Services may also be subject to other laws. Risk of
loss for all electronically delivered Transactions pass to the acquirer upon electronic transmission to the
recipient. No Apple employee or agent has the authority to vary this Agreement.

Apple may notify you with respect to the Services by sending an email message to your email address or a
letter via postal mail to your mailing address, or by a posting on the Services. Notices shall become
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                effective immediately. Apple may also contact you by email or push notification to send you additional
                information about the Services.

                You hereby grant Apple the right to take steps Apple believes are reasonably necessary or appropriate to
                enforce and/or verify compliance with any part of this Agreement. You agree that Apple has the right,
                without liability to you, to disclose any data and/or information to law enforcement authorities, government
                officials, and/or a third party, as Apple believes is reasonably necessary or appropriate to enforce and/or
                verify compliance with any part of this Agreement (including but not limited to Apple's right to cooperat e
                with any legal process relating to your use of the Services and/or Content, and/or a third-party claim that
                your use of the Services and/or Content is unlawful and/or infringes such third party's rights).

                Children under the age of majority should review this Agreement with their parent or guardian to ensure
                that the child and parent or legal guardian understand it.

                Last Updated: September 16, 2020




        Legal         Internet Services   Apple Media Services

Hardware and Software                     Sales & Support                             Internet Services                            Intellectual Property
Hardware Warranties                       Overview                                    Overview                                     Overview

Software License Agreements               AppleCare                                   Apple Media Services Terms and               Guidelines for Using Apple Trademarks
                                                                                      Conditions                                   and Copyrights
RF Exposure                               Repair Terms and Conditions
                                                                                      iTunes Gift Cards and Codes Terms and        Trademarks
                                          Express Replacement Service
More Resources                                                                        Conditions
                                                                                                                                   Rights and Permissions
                                          Remote Support Terms and Conditions
Overview                                                                              Game Center Terms and Conditions
                                          (PDF)                                                                                    Piracy Prevention
Government Information Requests                                                       iCloud Terms of Service
                                          Sales Policies                                                                           Unsolicited Idea Submission Policy
Contact Apple Legal                                                                   TestFlight Terms and Conditions
                                          Certification Agreements and Policies
                                                                                      Privacy Policy                               Education
Global Trade Compliance                   Training Service Terms and Conditions
                                                                                      Website Terms of Use                         Apple School Manager
Supplier Provisions                       Support Communities Terms of Use
Filemaker Legal Information
                                                                                                                                   Enterprise

                                                                                                                                   Apple Business Manager
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